Case 5:04-cr-00062-MCR-LB   Document 142   Filed 07/11/06   Page 1 of 7
Case 5:04-cr-00062-MCR-LB   Document 142   Filed 07/11/06   Page 2 of 7
Case 5:04-cr-00062-MCR-LB   Document 142   Filed 07/11/06   Page 3 of 7
Case 5:04-cr-00062-MCR-LB   Document 142   Filed 07/11/06   Page 4 of 7
Case 5:04-cr-00062-MCR-LB   Document 142   Filed 07/11/06   Page 5 of 7
Case 5:04-cr-00062-MCR-LB   Document 142   Filed 07/11/06   Page 6 of 7
Case 5:04-cr-00062-MCR-LB   Document 142   Filed 07/11/06   Page 7 of 7
